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Standardized Forms
 
  Supreme Court Rules Committee Public Hearings
  Illinois Pattern Jury Instructions-Civil - 700.12VA - approved September 14, 2012 
  Illinois Pattern Jury Instructions-Criminal - 1.01, 13.77, 13.78, 13.81, 18.15, 18.16, 18.35K, 18.35L, 18.35M, 18.35N- approved  July 18, 2014 
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Chief Justice Rita B. Garman  
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Court Forms
           Supreme Court Policy on Access for Persons with Disabilities (Supreme Court only) 
           Petit Juror Handbook
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           Consumers' Guide to Legal Help (American Bar Association site) 
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            Parents Guide to Juvenile Court Abuse &amp; Neglect Proceedings (Illinois Lawyer Finder site)
           Laws Protecting Military Personnel  (Illinois Lawyer Finder site)  
      
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 The Third Branch - A Chronicle of the Illinois Supreme Court
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           U.S. Constitution (Legislative Reference Bureau)  
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           Understanding the Illinois Constitution (Illinois State Bar Association site)
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